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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


                                      :
RICHARD LEE TABLER,                   :
                                      :
                    Petitioner,       :
                                      :              CIVIL ACTION NO. W-10-CV-034-RP
       v.                             :
                                      :              CAPITAL HABEAS CORPUS
BOBBY LUMPKIN,                        :
Director, Correctional Institutions   :              HON. ROBERT PITMAN, U.S.D.J.
Division Texas Department of Criminal :
Justice,                              :
                                      :
                    Respondent.       :
____________________________________:


                                     NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Petitioner/Appellant Richard Lee Tabler hereby appeals

to the United States Court of Appeals for the Fifth Circuit from the district court’s Order of June

10, 2021 (ECF No. 235), denying and dismissing his petition for a writ of habeas corpus and

denying a certificate of appealability on certain claims, and from the district court’s Order of

January 25, 2022 (ECF No. 254), denying Petitioner/Appellant’s timely filed motion to alter or

amend judgment pursuant to Fed. R. Civ. P. 59 and to expand the grant of COA, and from each

and every adverse ruling that formed the basis of those Orders. 1




   1
     This is a death penalty case. No warrant for execution is pending. Undersigned counsel,
Peter Walker, from the Federal Community Defender Office for the Eastern District of
Pennsylvania, was appointed to represent Mr. Tabler on March 31, 2015. Undersigned counsel,
Marcy Widder, was appointed to represent him on May 1, 2012. See ECF Nos. 51, 72. The
district court granted leave to proceed in forma pauperis. See ECF No. 6.
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                                           Respectfully submitted,


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                                           Philadelphia, PA 19106
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                                CERTIFICATE OF SERVICE


       I hereby certify that on this date, I served the foregoing pleading and its attachments on the

following by operation of the electronic case filing system:


                              Cara Hanna, Esq.
                              Assistant Attorney General
                              Office of the Attorney General of Texas
                              Post Office Box 12548
                              Austin, Texas 78711-2548




                                                      /s/ Peter J. Walker
                                                      Peter J. Walker
Dated: February 23, 2022
